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                       IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

 UNITED STATES OF AMERICA                       §
                                                §
                                                § CASE NUMBER 6:13CR114-RC
 v.                                             §
                                                §
                                                §
                                                §
 BRITTANY NICHOLE MULLENS                       §
 (16)

         REPORT AND RECOMMENDATION ON PETITION FOR WARRANT
                   FOR OFFENDER UNDER SUPERVISION

        Pending is a “Petition for Warrant or Summons for Offender Under Supervision” filed

 September 14, 2016, alleging that the Defendant, Brittany Nichole Mullens, violated eight

 conditions of her supervised release. This matter is referred to the undersigned United States

 magistrate judge for review, hearing, and submission of a report with recommended findings of

 fact and conclusions of law. See United States v. Rodriguez, 23 F.3d 919, 920 n.1 (5th Cir.

 1994); see also 18 U.S.C. § 3401(I) (2000); Local Rules for the Assignment of Duties to United

 States Magistrate Judges.

                             I. The Original Conviction and Sentence

        Brittany Nichole Mullens was sentenced on December 17, 2014, before The Honorable

 Leonard Davis, of the Eastern District of Texas, after pleading guilty to the offense of

 Conspiracy to Possess with Intent to Distribute and Distribution of at least 30 Grams but less

 than 40 Grams of a Mixture or Substance Containing a Detectable Amount of

 Methamphetamine, a Class C felony. This offense carried a statutory maximum imprisonment

 term of 20 years. The guideline imprisonment range, based on a total offense level of 17 and a

 criminal history category of I, was 24 to 30 months. Brittany Nichole Mullens was subsequently
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 sentenced to 24 months of imprisonment followed by a 3 year term of supervised release subject

 to the standard conditions of release, plus special conditions to include providing the probation

 officer with access to requested financial information, participating in a program of testing and

 treating for drug abuse and participating in any combination of psychiatric, psychological, or

 mental health treatment as deemed appropriate by the treatment provider, and a $100 special

 assessment.

                                     II. The Period of Supervision

        On August 11, 2015, Brittany Nichole Mullens completed her period of imprisonment

 and began service of the supervision term.

                                        III. The Petition

        United States Probation filed the Petition for Warrant for Offender Under Supervision

 raising eight allegations.   The petition alleges that Brittany Nichole Mullens violated the

 following conditions of release:

        Allegation 1. The defendant shall not commit another federal, state, or local
        crime.

        Allegation 2. The defendant shall not possess a firearm, ammunition, destructive
        device, or any other dangerous weapon.

        Allegation 3. The defendant shall not leave the judicial district without permission
        of the Court or probation officer

        Allegation 4. The defendant shall work regularly at a lawful occupation unless
        excused by the probation officer for schooling, training or other acceptable
        reasons.

        Allegation 5. The defendant shall refrain from excessive use of alcohol and shall
        not purchase, possess, use, distribute, or administer any narcotic or other
        controlled substance, or any paraphernalia related to such substances, except as
        prescribed by a physician.


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        Allegation 6. The defendant shall not associate with any persons engaged in
        criminal activity, and shall not associate with any person convicted of a felony
        unless granted permission to do so by the probation officer.

        Allegation 7. The defendant shall permit a probation officer to visit at any time at
        home or elsewhere and shall permit confiscation of any contraband observed in
        plain view by the probation officer.

        Allegation 8. Under the guidance and direction of the U.S. Probation Office, the
        defendant shall participate in any combination of psychiatric, psychological, or
        mental health treatment as deemed appropriate by the treatment provider. The
        defendant shall pay any cost associated with treatment and testing.

                                         IV. Proceedings

        On November 2, 2016, the undersigned convened a hearing pursuant to Rule 32.1 of the

 Federal Rules of Criminal Procedure to hear evidence and arguments on whether the Defendant

 violated conditions of supervised release, and the appropriate course of action for any such

 violations.

        At the revocation hearing, counsel for the Government and the Defendant announced an

 agreement as to a recommended disposition regarding the revocation. The Defendant agreed to

 plead “true” to the fifth allegation that claimed she submitted a urine specimen on September 2,

 2016 that tested positive for methamphetamine.        In return, the parties agreed that she should

 serve a term of imprisonment of 8 months imprisonment, with no supervised release to follow.

                                     V. Principles of Analysis

        According to Title 18 U.S.C. § 3583(e)(3), the court may revoke a term of supervised

 release and require the defendant to serve in prison all or part of the term of supervised release

 authorized by statute for the offense that resulted in such term of supervised release without

 credit for time previously served on post-release supervision, if the court, pursuant to the Federal



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 Rules of Criminal Procedure applicable to revocation of probation or supervised release, finds by

 a preponderance of the evidence that the defendant violated a condition of supervised release,

 except that a defendant whose term is revoked under this paragraph may not be required to serve

 on any such revocation more than five years in prison if the offense that resulted in the term of

 supervised release is a Class A felony, more than three years if such offense is a Class B felony,

 more than two years in prison if such offense is a Class C or D felony, or more than one year in

 any other case. The original offense of conviction was a Class C felony, therefore, the maximum

 imprisonment sentence is 2 years.

         According to U.S.S.G. § 7B1.1(a) 1, if the court finds by a preponderance of the evidence

 that the Defendant violated conditions of supervision by using methamphetamine, the Defendant

 will be guilty of committing a Grade B violation. U.S.S.G. § 7B1.3(a)(2) indicates that upon a

 finding of a Grade B violation, the court may (A) revoke probation or supervised release; or (B)

 extend the term of probation or supervised release and/or modify the conditions of supervision.

         U.S.S.G. § 7B1.4(a) provides that in the case of revocation of supervised release based on

 a Grade B violation and a criminal history category of I, the policy statement imprisonment

 range is 4 to 10 months.

         According to U.S.S.G. § 7B1.3(c)(1), where the minimum term of imprisonment

 determined under U.S.S.G. § 7B1.4 is at least one month but not more than six months, the

 minimum term may be satisfied by (A) a sentence of imprisonment; or (B) a sentence of

 imprisonment that includes a term of supervised release with a condition that substitutes



 1. All of the policy statements in Chapter 7 that govern sentences imposed upon revocation of supervised release
 are non-binding. See U.S.S.G. Ch. 7 Pt. A; United States v. Price, 519 F. App’x 560, 562 (11th Cir. 2013).

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 community confinement or home detention according to the schedule in U.S.S.G. § 5C1.1(e), for

 any portion of the minimum term.

        According to U.S.S.G. § 7B1.3(c)(2), where the minimum term of imprisonment

 determined under U.S.S.G. § 7B1.4 is more than six months but not more than ten months, the

 minimum term may be satisfied by (A) a sentence of imprisonment; or (B) a sentence of

 imprisonment that includes a term of supervised release with a condition that substitutes

 community confinement or home detention according to the schedule in U.S.S.G. § 5C1.1(e),

 provided that at least one-half of the minimum term is satisfied by imprisonment.

        U.S.S.G. § 7B1.3(c)(3) indicates in the case of a revocation based, at least in part, on a

 violation of a condition specifically pertaining to community confinement, intermittent

 confinement, or home detention, use of the same or a less restrictive sanction is not

 recommended.

        According to U.S.S.G. § 7B1.3(d), any restitution, fine, community confinement, home

 detention, or intermittent confinement previously imposed in connection with a sentence for

 which revocation is ordered that remains unpaid or unserved at the time of revocation shall be

 ordered to be paid or served in addition to the sanction determined under U.S.S.G. § 7B1.4 and

 any such unserved period of community confinement, home detention, or intermittent

 confinement may be converted to an equivalent period of imprisonment.

        U.S.S.G. § 7B1.1(b) indicates where there is more than one violation of the conditions of

 supervision, or the violation includes conduct that constitutes more than one offense, the grade of

 the violation is determined by the violation having the most serious grade.




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        According to U.S.S.G. § 7B1.3(f) any term of imprisonment imposed upon revocation of

 probation or supervised release shall be ordered to be served consecutively to any sentence of

 imprisonment that the defendant is serving, whether or not the sentence of imprisonment being

 served resulted from the conduct that is the basis of the revocation of probation or supervised

 release.

        According to 18 U.S.C. § 3583(h), when a term of supervised release is revoked and the

 defendant is required to serve a term of imprisonment, the court may include a requirement that

 the defendant be placed on a term of supervised release after imprisonment. The length of such a

 term of supervised release shall not exceed the term of supervised release authorized by statute

 for the offense that resulted in the original term of supervised release, less any term of

 imprisonment that was imposed upon revocation of supervised release. The authorized term of

 supervised release for this offense is not more than Choose an item. years.

        U.S.S.G. § 7B1.3(g)(2) indicates where supervised release is revoked and the term of

 imprisonment imposed is less than the maximum term of imprisonment imposable upon

 revocation, the court may include a requirement that the defendant be placed on a term of

 supervised release upon release from imprisonment. The length of such a term of supervised

 release shall not exceed the term of supervised release authorized by statute for the offense that

 resulted in the original term of supervised release, less any term of imprisonment that was

 imposed upon revocation of supervised release.

        In determining the Defendant’s sentence, the court shall consider:

        1. The nature and circumstance of the offense and the history and characteristics of the
           defendant; see 18 U.S.C. § 3553(a)(1);



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        2. The need for the sentence imposed: to afford adequate deterrence to criminal conduct;
           to protect the public from further crimes of the defendant; and to provide the
           Defendant with needed educational or vocational training, medical care, other
           corrective treatment in the most effective manner; see 18 U.S.C. §§ 3553 (a)(2)(B)-
           (D);

        3. Applicable guidelines and policy statements issued by the Sentencing Commission,
           for the appropriate application of the provisions when modifying or revoking
           supervised release pursuant to 28 U.S.C. § 994(a)(3), that are in effect on the date the
           defendant is sentenced; see 18 U.S.C. 3553(a)(4); see also 28 U.S.C. § 924(A)(3);

        4. Any pertinent policy statement issued by the Sentencing Commission, pursuant to 28
           U.S.C. § 994(a)(2), that is in effect on the date the defendant is sentenced; see 18
           U.S.C. § 3553(a)(5); and

        5. The need to avoid unwarranted sentence disparities among defendants with similar
           records who have been found guilty of similar conduct; see 18 U.S.C. § 3553(a)(6).

        6. The need to provide restitution to any victims of the offense.

 18 U.S.C. §§ 3583(e) and 3553(a).

 VI. Application

        The Defendant pled “true” to the petition’s allegation that she violated a standard

 condition of release by using methamphetamine. Based upon the Defendant’s plea of “true” to

 this allegation of the Petition for Warrant or Summons for Offender Under Supervision and

 U.S.S.G. § 7B1.1(a), the undersigned finds that the Defendant violated a condition of supervised

 release.

        The undersigned has carefully considered each of the factors listed in 18 U.S.C. §

 3583(e). The Defendant’s violation is a Grade B violation, and the criminal history category is I.

 The policy statement range in the Guidelines Manual is 4 to 10 months. The Defendant did not

 comply with the conditions of supervision and has demonstrated an unwillingness to adhere to

 conditions of supervision.


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        Consequently, incarceration appropriately addresses the Defendant’s violation. The

 sentencing objectives of punishment, deterrence and rehabilitation along with the

 aforementioned statutory sentencing factors will best be served by a prison sentence of 8 months,

 with no term of supervised release to follow.

 VII. Recommendations

        The court should find that the Defendant violated the allegation in the petition that she

 violated a standard condition of release by using methamphetamine. The petition should be

 granted and the Defendant’s supervised release should be revoked pursuant to 18 U.S.C. § 3583.

 The Defendant should be sentenced to a term of 8 months imprisonment, with no term of

 supervised release to follow. The Defendant requested to serve her prison term at the Federal

 Correctional Institution in Carswell to facilitate family visitation. The Defendant’s request

 should be accommodated, if possible.

 VIII. Objections

        Pursuant to 28 U.S.C. § 636(b)(1)(c), each party to this action has the right to file

 objections to this report and recommendation. Objections to this report must: (1) be in writing,

 (2) specifically identify those findings or recommendations to which the party objects, and (3) be

 served and filed within fourteen (14) days after being served with a copy of this report, and (4)

 no more than eight (8) pages in length. See 28 U.S.C. § 636(b)(1)(c) (2009); Fed. R. Civ. P.

 72(b)(2); Local Rule CV-72(c). A party who objects to this report is entitled to a de novo

 determination by the United States District Judge of those proposed findings and

 recommendations to which a specific objection is timely made. See 28 U.S.C. § 636(b)(1)

 (2009); Fed R. Civ. P. 72(b)(3).


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        A party’s failure to file specific, written objections to the proposed findings of fact and

 conclusions of law contained in this report, within fourteen (14) days of being served with a copy

 of this report, bars that party from: (1) entitlement to de novo review by the United States District

 Judge of the findings of fact and conclusions of law, see Rodriguez v. Bowen, 857 F.2d 275,

 276–77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error, of any such

 findings of fact and conclusions of law accepted by the United States District Judge, see

 Douglass v. United Servs. Auto. Ass’n, 79 F.3d 1415, 1428–29 (5th Cir. 1996) (en banc).



        So ORDERED and SIGNED this 2nd day of November, 2016.




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